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 8                                 UNITED STATES DISTRICT COURT

 9                                     DISTRICT OF NEVADA

10
     Liron Ben Geno, and Flor Estevez,              Case No.: 2:20-cv-00719-JCM-BNW
11
                    Plaintiffs,
12                                                  Joint Stipulation and Order of Dismissal
            v.
13
     Chad Wolf, et al.,
14
                    Defendants.
15

16          IT IS HEREBY STIPULATED AND AGREED, by and between the parties, that

17 the above-entitled case shall be voluntarily dismissed with prejudice, and each party will

18 bear its own costs and attorney’s fees.

19          Respectfully submitted this 9th day of October 2020.

20   REZA ATHARI & ASSOCIATES                        NICHOLAS A. TRUTANICH
                                                     United States Attorney
21
     /s/ Luther Snavely                              /s/ Brian Irvin
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25                                               IT IS SO ORDERED:
26

27
                                                 UNITED STATES DISTRICT JUDGE
28
                                                             October 21, 2020
                                                 DATED:
